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                  UNITED STATES BANKRUPTCY COURT
                                 District of Colorado

                                                     |
                                                     |
In re:         Lake Loveland Dermatology, P.C.       |     Case No. 19-11659 MER
                                                     |
                             Debtor.                 |     Chapter 11
                                                     |___________________________
                                                     |
Lake Loveland Dermatology, P.C.,                     |
                                                     |     Adv. Case No.
                                                     |     19-01233-MER
                                                     |
               Plaintiffs,                           |
v.                                                   |
                                                     |
790 Eisenhower, LLC,                                 |
                                                     |
                                                     |
               Defendants.                           |


 STIPULATED NOTICE OF SETTLEMENT AND MOTION TO HOLD CASE
                        IN ABEYANCE


         Plaintiff Lake Loveland Dermatology, P.C. (“Plaintiff”) and 790 Eisenhower,

LLC (“Eisenhower”) (collectively, the “Parties”), by and through their respective

undersigned counsel, respectfully submits this Stipulated Notice of Settlement and

Motion to Hold Case in Abeyance, and states as follows:

         1.    The Parties have reached a settlement agreement in principle that fully

resolves this adversary proceeding, among other pending matters.

         2.    The Parties are currently finalizing and reducing their settlement

agreement to writing.

         3.    The Parties will promptly notify the Court when the settlement
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agreement is fully executed and final, and upon Court approval, will jointly dismiss

this case with prejudice.

      4.     In the interim, to preserve judicial and Party resources, the Parties

respectfully request that the Court hold all pending deadlines, orders, and

proceedings in this adversary litigation in abeyance.

      WHEREFORE, the Parties respectfully request that the Court hold all pending

deadlines, orders, and proceedings in this adversary litigation in abeyance until the

Parties are able to finalize their settlement agreement.

      Dated this 7th day of January, 2020.



                                       Respectfully submitted,

                                       Allen Vellone Wolf Helfrich & Factor P.C.

                                       /s/Jordan Factor
                                       Jordan Factor, Esq.
                                       Michael Gilbert, Esq.
                                       Jeremy T. Jonsen, Esq.
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                                  COUNSEL FOR LAKE LOVELAND
                                  DERMATOLOGY, P.C.

                                  Markus Williams Young & Hunsicker

                                  /s/Matthew T. Faga
                                  Matthew T. Faga, Esq.
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                                  COUNSEL FOR 790 EISENHOWER, LLC




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                          CERTIFICATE OF SERVICE

    I hereby certify that on this the 7th day of January 2020, I caused the foregoing
STIPULATED NOTICE OF SETTLEMENT AND MOTION TO HOLD CASE IN
ABEYANCE, to be served by CM/ECF to the following:

Frank W. Visciano: fvisciano@senlaw.com, counsel for Defendant
Matthew T. Faga: mfaga@markuswilliams.com, counsel for Defendant
jsalisbury@markuswilliams.com, counsel for Defendant



                                       /s/Lisa A. Vos
                                       Allen Vellone Wolf Helfrich & Factor P.C.




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